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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                                Case No. 06-cr-40019 -JPG

 KEITH E. HOWARD,

                Defendant.

                                MEMORANDUM AND ORDER

       This matter comes before the Court on Defendant Keith E. Howard’s Motion to Appoint

Counsel (Doc. 654). On January 18, 2007, Howard pled guilty, pursuant to a written plea

agreement, to one count of conspiracy to manufacture and possess with intent to distribute more

than 500 grams of a mixture and substance containing methamphetamine. He was sentenced on

January 18, 2007. No appeal is currently pending. As part of the plea agreement, the

Government indicated that, if Howard provided substantial assistance through complete and total

cooperation, it may, in its sole discretion, file a motion under Rule 35 of the Federal Rules of

Criminal Procedure. Howard requests counsel to assist him in answering the anticipated Rule 35

motion from the Government. However, to date, the Government has not filed such a motion.

As such, there is nothing pending for which Howard requires the assistance of counsel.

Therefore, the Court DENIES his Motion (Doc. 654) as not yet ripe for adjudication.


IT IS SO ORDERED.
DATED: March 18, 2008
                                              s/ J. Phil Gilbert
                                              J. PHIL GILBERT
                                              DISTRICT JUDGE
